                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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JOHNNIE B. ROSE,

                          Plaintiff,
      v.                                                  Case No. 24-cv-405-pp

CITY OF MILWAUKEE, et al.,

                        Defendants.
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    ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE TO PROCEED
     WITHOUT PREPAYING FILING FEE (DKT. NO. 2) AND SCREENING
      AMENDED COMPLAINT (DKT. NO. 13) UNDER 28 U.S.C. §1915A
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      Plaintiff Johnnie B. Rose, who is incarcerated at the Milwaukee Secure

Detention Facility and is representing himself, filed a complaint under 42

U.S.C. §1983, alleging that the defendants used excessive force during an

unlawful arrest. On June 3, 2024, the court denied the plaintiff’s motion to file

an amended complaint because he had not attached a copy of the proposed

amended complaint to his motion, but the court gave him an opportunity to file

a proposed amended complaint by June 21, 2024. Dkt. No. 11. On June 6,

2024, the court received two copies of the plaintiff’s proposed amended

complaint. Dkt. Nos. 12, 13. Because the court has not yet screened the

original complaint, this decision resolves the plaintiff’s motion for leave to

proceed without prepaying the filing fee, dkt. no. 2, and screens the amended

complaint that the court received on Jun3 6, 2024, dkt. no. 13. The amended

complaint supersedes the original complaint and is the operative complaint




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going forward. Massey v. Helman, 196 F.3d 727, 735 (7th Cir. 1999) (citing

Carver v. Condie, 169 F.3d 469, 472 (7th Cir. 1999)).

I.    Motion for Leave to Proceed without Prepaying the Filing Fee
      (Dkt. No. 2)

      The Prison Litigation Reform Act (PLRA) applies to this case because the

plaintiff was incarcerated when he filed his complaint. See 28 U.S.C. §1915(h).

The PLRA lets the court allow an incarcerated plaintiff to proceed with without

prepaying the civil case filing fee. 28 U.S.C. §1915(a)(2). When funds exist, the

plaintiff must pay an initial partial filing fee. 28 U.S.C. §1915(b)(1). He then

must pay the balance of the $350 filing fee over time, through deductions from

his prison trust account. Id.

      On May 6, 2024, the court ordered that the plaintiff was not required to

pay an initial partial filing fee. Dkt. No. 8. The court will grant his motion for

leave to proceed without prepaying the filing fee and will require him to pay the

full $350 filing fee over time in the manner explained at the end of this order.

II.   Screening the Amended Complaint

      A.     Federal Screening Standard

      Under the PLRA, the court must screen complaints brought by

incarcerated persons seeking relief from a governmental entity or officer or

employee of a governmental entity. 28 U.S.C. §1915A(a). The court must

dismiss a complaint if the incarcerated person raises claims that are legally

“frivolous or malicious,” that fail to state a claim upon which relief may be

granted, or that seek monetary relief from a defendant who is immune from

such relief. 28 U.S.C. §1915A(b).


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      In determining whether the amended complaint states a claim, the court

applies the same standard that it applies when considering whether to dismiss

a case under Federal Rule of Civil Procedure 12(b)(6). See Cesal v. Moats, 851

F.3d 714, 720 (7th Cir. 2017) (citing Booker-El v. Superintendent, Ind. State

Prison, 668 F.3d 896, 899 (7th Cir. 2012)). To state a claim, the amended

complaint must include “a short and plain statement of the claim showing that

the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The amended complaint

must contain enough facts, “accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial

plausibility when the plaintiff pleads factual content that allows a court to draw

the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Twombly, 550 U.S. at 556).

      To state a claim for relief under 42 U.S.C. §1983, a plaintiff must allege

that someone deprived him of a right secured by the Constitution or the laws of

the United States, and that whoever deprived him of this right was acting

under the color of state law. D.S. v. E. Porter Cnty. Sch. Corp., 799 F.3d 793,

798 (7th Cir. 2015) (citing Buchanan–Moore v. County of Milwaukee, 570 F.3d

824, 827 (7th Cir. 2009)). The court construes liberally complaints filed by

plaintiffs who are representing themselves and holds such complaints to a less

stringent standard than pleadings drafted by lawyers. Cesal, 851 F.3d at 720

(citing Perez v. Fenoglio, 792 F.3d 768, 776 (7th Cir. 2015)).




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      B.     The Plaintiff’s Allegations

      The amended complaint names as defendants the city of Milwaukee, the

Milwaukee Fire and Police Commission and Milwaukee Police Officers Josue

Ayala and Joshua Hermann. Dkt. No. 13 at 1. The plaintiff alleges that on

October 23, 2020, he was driving home in his 2015 Kia Optima home; he

explains that he worked at Campbell Foods. Id. As he was heading south on

27th Street in Milwaukee, a car heading north passed by and “flashed a

blinding light directly into [his] eyes.” Id. at 1–2. The north-bound car then

turned around and began to follow the plaintiff. Id. at 2. The plaintiff noticed

“flashing lights” in his rear-view mirror that he recognized “as being a police

vehicle.” Id. The plaintiff says he “did not flee but immediately ‘pulled over and

stopped.’” Id.

      The plaintiff recounts that at the time of the alleged events, “[t]he City of

Milwaukee had been dealing with a huge problem with a group of teenagers

known as the Kia Boys who committed auto thefts.” Id. The plaintiff says that

he was driving a Kia and that he “assumed that perhaps officers pulled him

over thinking his car was stolen.” Id. He “reached to get his license, registration

and insurance,” when officers approached the vehicle and yelled at him to open

the door. Id. The plaintiff alleges that the officer at his door “had his hand on

his service weapon, threatening the plaintiff as if the officers would use deadly

force.” Id. at 2–3.

      The plaintiff says he got out of his car “and was immediately grabbed and

excessively punched over and over until nearly unconscious.” Id. at 3. He



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alleges that the officers broke his ankle and knocked out one of his teeth. Id.

They then handcuffed him and forced him to his feet. Id. The plaintiff alleges

that he “could not walk or breathe,” and an ambulance came to escort him to a

nearby hospital. Id. Doctors diagnosed the plaintiff with a broken ankle, a

dislodged tooth and “head injuries and contusions.” Id. The plaintiff says

photos showed “swelling as if the plaintiff had been hit with a blunt object.” Id.

      The plaintiff recounts that he was released from the hospital and

arrested “on false allegations of drug charges, resisting arrest and bail

jumping.” Id. He says the officers admitted to punching him “approximately 16

times to his ribs, face and head” and to knocking out his tooth and breaking

his ankle. Id. at 3–4. The plaintiff alleges that the officers “stat[ed] ‘that they

thought’ the plaintiff was reaching for a gun.” Id. at 4. The plaintiff reports that

the district attorney “did not process a single charge,” and he was not

prosecuted. Id. He asserts that there was no “justification for unreasonable use

of excessive force,” and no weapons were found on him. Id. The plaintiff says

that the officers who stopped and assaulted him were “of the opposite race.” Id.

      The plaintiff alleges that he “filed a citizens complaint” the day of the

incident. Id. He says that because of the COVID-19 pandemic, the “State and

Federal Building had been closed to the public.” Id. He says he “went without

getting a response to his administrative complaint” and received no cooperation

from the Milwaukee Police Department when he tried calling. Id. at 4, 6. He

also “wrote letters asking for a response to his complaint,” but the pandemic

“made it where the plaintiff was provided with no option but to write or call to



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get answers.” Id. at 6. He says that it was not until April 16, 2024 that the Fire

and Police Commission told him that the Milwaukee Police Department had

dismissed his complaint, but he says that the letter of dismissal he received

does not list a date of dismissal. Id. He asserts that his “claim was delayed by

the defendants.” Id. at 7. The plaintiff he says that he has exhibits “to support

sufficiency of his claim” that he will provide “[a]t the appropriate stage.” Id. at

7. He does not specify what relief he seeks.

      C.     Analysis

      The court analyzes the plaintiff’s allegations about his arrest under the

Fourth Amendment, which guarantees citizens the right “to be secure in their

persons . . . against unreasonable . . . seizures” of the person. Graham v.

Connor, 490 U.S. 386, 394 (1989); see Tennessee v. Garner, 471 U.S. 1, 7–8

(1985) (claim of excessive force to effect arrest analyzed under a Fourth

Amendment standard). Under the Fourth Amendment, the court applies an

objective reasonableness test, considering the reasonableness of the force

based on the events confronting the defendants at the time and not on their

subjective beliefs or motivations. See Horton v. Pobjecky, 883 F.3d 941, 949–50

(7th Cir. 2018) (citing Graham, 490 U.S. at 396–97; C’nty of Los Angeles v.

Mendez, 581 U.S. 420, 426–27 (2017)). The court must consider “the totality of

the circumstances, including the pressures of time and duress, and the need to

make split-second decisions under intense, dangerous, uncertain, and rapidly

changing circumstances,” without resort to “hindsight’s distorting lens.” Id. at




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950 (citing Graham, 490 U.S. at 396; Ford v. Childers, 855 F.2d 1271, 1276

(7th Cir. 1988)).

      The plaintiff alleges that when the officers pulled him over, he was

heading home. He says he complied with their signal and pulled over without

attempting to flee. He does not say whether he was speeding or otherwise

violating a traffic law that might have justified the stop. He instead opines that

he thought the officers may have pulled him over because he was driving a Kia,

a make of care that frequently was being stolen in Milwaukee in 2020. He says

he was reaching for his license, registration and insurance when the officers

approached his car, yelled at him to get out and then assaulted him. He alleges

that there was no justification for their actions and use of force, which caused

him significant injury including a broken ankle and dislodged tooth. The

plaintiff’s allegations suggest that he made no furtive movements or signs of

aggression warranting the officers’ use of force. Accepting these allegations as

true for the purpose of screening, the court finds that the plaintiff states a

Fourth Amendment claim of excessive force during his arrest against Officers

Ayala and Hermann.

      The plaintiff also alleges that the officers arrested him based on false

allegations and falsely charged him with crimes involving drugs, resisting

arrest and bail jumping, which never were prosecuted. These allegations

suggest an additional Fourth Amendment claim of false arrest. See Alexander

v. McKinney, 692 F.3d 553, 558 (7th Cir. 2012). The court also will allow the




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plaintiff to proceed on this Fourth Amendment claim against Officers Ayala and

Hermann.

      The plaintiff says that the officers were “of the opposite race” of him. To

the extent the plaintiff meant to allege that the officers arrested him in violation

of the Equal Protection Clause of the Fourteenth Amendment, he has not

stated a claim. The plaintiff does not allege that the officers stopped him or

used excessive force because of his race. He says only that he and the officers

are of different races. The reason he gives for why he believes that the officers

may have stopped him was the fact that he was driving a Kia, and the city of

Milwaukee was dealing with a spate of Kia thefts. The plaintiff’s allegations

about his and the officers’ races do not state a violation of the Fourteenth

Amendment.

      The plaintiff names as a defendant the City of Milwaukee. A municipality

like the City of Milwaukee may “be held liable under § 1983 only for its own

violations of federal law.” Los Angeles County v. Humphries, 562 U.S. 29, 36

(2010) (citing Monell v. New York City Dep’t of Soc. Servs., 436 U.S. 658, 694

(1978)). The plaintiff may proceed against the City under §1983 only if he

demonstrates “that there was an ‘official policy, widespread custom, or action

by an official with policy-making authority [that] was the “moving force” behind

his constitutional injury.’” Estate of Perry v. Wenzel, 872 F.3d 439, 461 (7th

Cir. 2017) (quoting Daniel v. Cook C’nty, 833 F.3d 728, 734 (7th Cir. 2016)).

The plaintiff does not allege that the officers stopped him, used excessive force

or unlawfully arrested him because of any official policy or custom. He alleges



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that the officers acted of their own volition when they stopped, assaulted and

arrested him. The court will dismiss the City of Milwaukee because the

amended complaint does not state a claim against it.

      The plaintiff also names as a defendant the Milwaukee Fire and Police

Commission, which he alleges denied his administrative complaint against the

officers. But claims under §1983 may be brought only against “persons,” and

the Fire and Police Commission is not a person. Nor is it a municipality; it is an

“agenc[y] of a municipality—[an] agenc[y] of the city of Milwaukee.” Burks v.

Tate, No. 20-cv-782, 2023 WL 7301853, at *9 (E.D. Wis. Mar. 30, 2023). As

this court recently held, the Fire and Police Commission, as an agency of the

city of Milwaukee, cannot be sued separately from the city. Id. (citing Shabani

v. City of Madison, Case No. 19-cv-65-bbc, 2019 WL 1060613, at *2 (W.D. Wis.

Mar. 6, 2019) (holding that the Police and Fire Commission is “a city agency or

department that cannot be sued under § 1983 separately from the City of

Madison”). Because the court is dismissing the city of Milwaukee, it also will

dismiss the Milwaukee Fire and Police Commission as a defendant.

      As a final note, the plaintiff alleges that the events he describes occurred

on October 23, 2020. Dkt. No. 1. The limitation period for §1983 actions arising

in Wisconsin is the three-year limitation provision in Wis. Stat. §893.54 (2018).

Wisconsin previously allowed a six-year limitation period, but in 2018 it

reduced that limitation period to three years. See Huber v. Anderson, 909 F.3d

201, 207 (7th Cir. 2018) (citing 2017 Wis. Act 235 (eff. Apr. 5, 2018)) (reducing

applicable statute of limitations from six to three years). Because the plaintiff



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alleges that these events occurred on October 23, 2020, the law requires him to

bring any claims based on events that happened on that date no later than

October 23, 2023. The court did not receive the plaintiff’s complaint until April

3, 2024. The plaintiff’s complaint may be untimely.

       The plaintiff says, however, that he filed an administrative complaint

about these events and the administrative process was not complete until April

16, 2024, when the Fire and Police Commission sent him a letter of dismissal

of his complaint. The plaintiff may be entitled to equitable tolling while he

completed the administrative grievance process. See Walker v. Sheahan, 526

F.3d 973, 978 (7th Cir. 2008) (citing Johnson v. Rivera, 272 F.3d 519, 522 (7th

Cir. 2001)). It is not clear whether equitable tolling applies to the “citizens

complaint” that the plaintiff says he brought against the officers after he was

released from custody. But because untimeliness is an affirmative defense, the

court will not decide at screening whether the plaintiff’s complaint is untimely.

Nothing in this decision forecloses the defendants from raising the affirmative

defense of untimeliness in a motion to dismiss or for summary judgment.

III.   Conclusion
       The court GRANTS the plaintiff’s motion for leave to proceed without

prepaying the filing fee. Dkt. No. 2.

       The court DISMISSES the defendants City of Milwaukee and Milwaukee

Fire and Police Commission.

       The court ORDERS the U.S. Marshals Service to serve a copy of the

amended complaint and this order on Milwaukee Police Officers Josue Ayala and



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Joshua Hermann under Federal Rule of Civil Procedure 4. Congress requires the

U.S. Marshals Service to charge for making or attempting such service. 28

U.S.C. §1921(a). Although Congress requires the court to order service by the

U.S. Marshals Service, it has not made any provision for either the court or the

U.S. Marshals Service to waive these fees. The current fee for waiver-of-service

packages is $8.00 per item mailed. The full fee schedule is provided at 28 C.F.R.

§§0.114(a)(2), (a)(3). The U.S. Marshals Service will give the plaintiff information

on how to remit payment. The court is not involved in collection of the fee.

      The court ORDERS Officers Ayala and Hermann to file a responsive

pleading to the amended complaint.

      The court ORDERS that the agency that has custody of the plaintiff must

collect from his institution trust account the full $350 balance of the filing fee

by collecting monthly payments from the plaintiff’s prison trust account in an

amount equal to 20% of the preceding month’s income credited to the plaintiff’s

trust account and forwarding payments to the clerk of court each time the

amount in the account exceeds $10 in accordance with 28 U.S.C. §1915(b)(2).

The agency must clearly identify the payments by the case name and number.

If the plaintiff transfers to another county, state or federal institution, the

transferring institution must forward a copy of this order, along with the

plaintiff's remaining balance, to the receiving institution.

      The court will send a copy of this order to the Warden at Milwaukee

Secure Detention Facility, where the plaintiff is confined.




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      The court ORDERS that the parties may not begin discovery until after

the court enters a scheduling order setting deadlines for completing discovery

and filing dispositive motions.

      The court ORDERS that plaintiffs who are incarcerated at Prisoner E-

Filing Program institutions1 must submit all correspondence and case filings to

institution staff, who will scan and e-mail documents to the court. Plaintiffs

who are incarcerated at all other prison facilities must submit the original

document for each filing to the court to the following address:

                          Office of the Clerk
                          United States District Court
                          Eastern District of Wisconsin
                          362 United States Courthouse
                          517 E. Wisconsin Avenue
                          Milwaukee, Wisconsin 53202

DO NOT MAIL ANYTHING DIRECTLY TO THE JUDGE’S CHAMBERS. It will

only delay the processing of the case.

      The court advises the plaintiff that if he fails to file documents or take

other required actions by the deadlines the court sets, the court may dismiss

the case based on his failure to diligently pursue it. The parties must notify the

clerk of court of any change of address. The court advises the plaintiff that it is

his responsibility to promptly notify the court if he is released from custody or

transferred to a different institution. The plaintiff’s failure to keep the court




1 The Prisoner E-Filing Program is mandatory for all persons incarcerated at

Green Bay Correctional Institution, Waupun Correctional Institution, Dodge
Correctional Institution, Wisconsin Secure Program Facility, Columbia
Correctional Institution and Oshkosh Correctional Institution.


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advised of his address may result in the court dismissing this case without

further notice.

      Dated in Milwaukee, Wisconsin this 7th day of July, 2024.

                                    BY THE COURT:


                                    ________________________________________
                                    HON. PAMELA PEPPER
                                    Chief United States District Judge




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